 

	
	
	
	
	OSCN Found Document:STATE ex rel. OKLAHOMA BAR ASSOCIATION v. BOUNDS

	
	
	

	
	
	
	
	
	
	
	

	


					
	
        
            	
			
				


     
    OSCN navigation


    
        
        Home

        
        Courts

        
                
	    Court Dockets
			 

        
        Legal Research

        
        Calendar

        
        Help
    
    







				
					
						
						Previous Case

						
						Top Of Index

						
						This Point in Index

						
						Citationize

						
						Next Case

						
						Print Only
					
				
			
            
        

        
            
				
				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. BOUNDS2017 OK 98Case Number: SCBD-6597Decided: 12/11/2017THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2017 OK 98, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 



State of Oklahoma ex rel. Oklahoma Bar Association, Complainant,
v.
John Knox Bounds, Respondent.




ORDER OF IMMEDIATE INTERIM SUSPENSION


¶1 The Oklahoma Bar Association (OBA), in compliance with Rules 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), has forwarded to this Court certified copies of the Criminal Information, Amended Information, Deferment, and Judgment and Sentence, in the matter of State of Oklahoma v. John K. Bounds, CF-2016-159, in Choctaw County. On August 22, 2017, a jury found John Knox Bounds guilty of the following crimes, both of which occurred on August 6, 2016:

1.) Possession of a Controlled Dangerous Substance, a felony, in violation of 63 O.S. 2011 § 2-402; and

2.) Unlawful Possession of Drug Paraphernalia, a misdemeanor, in violation 63 O.S. 2011 § 2-405.

¶2 On November 21, 2017, the Court entered a deferment of 2 years, until November 21, 2019, on the felony count for possession of a controlled dangerous substance, during which time Bounds is on probation. The Court also sentenced Bounds to imprisonment for 30 days on the misdemeanor count.

¶3 Rule 7.3 of the RGDP provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court shall by order immediately suspend the lawyer from the practice of law until further order of the Court." Having received certified copies of these papers and orders, this Court orders that John Knox Bounds is immediately suspended from the practice of law. John Knox Bounds is directed to show cause, if any, no later than December 22, 2017, why this order of interim suspension should be set aside. See RGDP Rule 7.3. The OBA has until January 4, 2018, to respond.

¶4 Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules." Pursuant to Rule 7.4 of the RGDP, John Knox Bounds has until January 19, 2018, to show cause in writing why a final order of discipline should not be imposed, to request a hearing, or to file a brief and any evidence tending to mitigate the severity of discipline. The OBA has until February 5, 2018, to respond.

¶5 DONE BY ORDER OF THE SUPREME COURT on November 11, 2017.


/S/CHIEF JUSTICE



Combs, C.J., Gurich, V.C.J., Watt, Winchester, Edmondson, Colbert and Wyrick, JJ., concur;


Reif, J., not participating






	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	Title 63. Public Health and Safety
&nbsp;CiteNameLevel

&nbsp;63 O.S. 2-405, Prohibited Acts E- PenaltiesCited
&nbsp;63 O.S. 2-402, Prohibited Acts B - PenaltiesCited


	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
